Case 2:03-cr-20468-SH|\/| Document 90 Filed 06/30/05 Page 1 014 Page|D 82

UN|TED STATES DlSTR|CT COURT m BY
WESTEFlN D|STR|CT OF TENNESSEE ‘ ‘*'~
MEMPH|S DlVlS|ON

D..C.
05 JUN 30 PH 2: 142

uNlTED sTATEs oi= mech assistme
w/D 01-‘ ssams
-v- 03-20468-02-Ma

BLUE LlGHT STUD|O, lNC.

a Tennessee Corporation
Scott Ha|l Fietained
Defense Attorney
200 Jefterson, Suite 1313
Memphis, Tennessee 38103

 

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant was found guilty on Counts 1-4, 8-16 & 19-46 of the |ndictment on January 19, 2005.
Thereafter, at the sentencing hearing, the Court dismissed Counts 1-4, 8, 22, and 23-27. The jury
also found that the property of defendant (Count 52) is subject to forfeiture. According|y, the court has
adjudicated that the defendant is guilty of the following offense(s):

Date Count
Tit|e & Section Nature of Offense Offense Numbegs)
Conc|uded

18 U.S.C. § 1028(a)(1) identity theft; aiding and abetting 02/18/2003 9-16
18 U.S.C. § 2
18 U.S.C. § 1028(a)(5) Producing, transferring or possessing a 03/06/2003 19 & 20
18 U.S.C. § 2 document-making implement or

authentication features with intent to produce

false identifications; aiding and abetting
18 U.S.C. § 1028(a)(6) Possession of false identification document; 03/06/2003 21
18 U.S.C. § 2 aiding and abetting
18 U.S.C. § 1028(a)(7) Transfer or use of an identification document 12/23/2000 28-46
18 U.S.C. § 2 with the intent to commit or aid and abet

unlawful activity

Counts 5, 47-49 and 51 are dismissed on the motion of the United States. Counts 17, 18 and 50 are
dismissed on the motion of the defense

The Court declared a mistrial as to Counts 6 and 7.

The defendant is sentenced as provided in the following pages of this judgment The sentence is
imposed pursuant to the Sentencing Fieform Act of 1 984 and the MandatoryVictims Restitution Act
of 1996.

Thls document entered on the docket shea ln compliance
with l-iule 55 andfor 32(b) FRCrP on "

Case 2:03-cr-20468-SH|\/| Document 90 Filed 06/30/05 Page 2 014 Page|D 83

Case No: 03-20468-02-Ma
Defendant Name: Blue Light Studio, |nc.
Page 2 of 3

lT lS FUFtTHEFt ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Date of imposition of Sentence:
June 09, 2005
Deft’s U.S. Employer |D No.: 621829051

Defendant’s Mai|ing Address:
247 S. Cooper
|V|emphis, TN 38104

JAWM__.

SAMUEL. H. |VlAYS, J|`-'t.
UNlTED STATES D|STFt|CT JUDGE

la

 

June , 2005

Case 2:03-cr-20468-SH|\/| Document 90 Filed 06/30/05 Page 3 of 4 Page|D 84

Case No: 03-20468-02-Ma
Defendant Name: Blue Light Studio, lnc.
Page 3 of 3

CR|M|NAL NlONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total thstitution
$12,000.00 $650,000.00

The Specia| Assessment shall be due immediate|y.

F|NE
A Fine in the amount of $ 650,000.00 is imposed.

REST|TUT|ON
No Fiestitution was ordered

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 90 in
ease 2:03-CR-20468 Was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed.

 

Erie Scott Hall
WAGERMAN LAW FIRM
200 .1 efferson Ave.

Ste. 13 13

1\/1emphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

